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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                      :
                      Plaintiff,               :
                                               :
           v.                                  :       Civ. No. 18-2044
                                               :
ST. JOSEPH’S UNIVERSITY, et al.,               :
                 Defendants.                   :

                                          ORDER

       AND NOW, this 5th day of September, 2018, upon consideration of Defendant St.

Joseph’s University’s Letter Request (Ex. A) for Additional Discovery Related Solely to

Plaintiff’s Damages Claims, it is hereby ORDERED that Defendant’s Letter Request (Ex. A) is

DENIED without prejudice. Defendant may renew its Request after dispositive motions are

decided.

                                                          AND IT IS SO ORDERED.

                                                          /s/ Paul S. Diamond
                                                          _________________________
                                                          Paul S. Diamond, J.
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~MONTGOMERY  ATTORNEYS AT LAW
                                                      McCRACKEN

         John M. Myers                                                      1735 Market Street                                                   Direct Dial:         215-772-7535
         Admitted in Pennsylvania                                           Philadelphia, PA 19103-7505                                          Fax:                 215-731-3657
                                                                            Tel: 215-772-1500                                                    Email:         jmyers@mmwr.com




                                                               September 5, 2018



 VIA E-MAIL

 The Honorable Paul S. Diamond
 United States Courthouse
 601 Market Street
 Room 14614
 Philadelphia, PA 19106-1743

                  Re:      John Doe v. Saint Joseph's University and Jane Roe
                           United States District Court
                                  for the Eastern District of Pennsylvania
                           Civil Action No. 18-cv-2044

 Dear Judge Diamond:

         We write to you under your instruction to raise discovery issues by letter.

         With all due respect to your most recent order, we ask for additional discovery, related
 solely to Doe's damage claims, which now include enhanced claims of emotional and academic
 distress. He has now clearly put his own mental health at issue and, unlike defendant Roe, has
 therefore waived his right to the privacy of these records. The simple discovery requests are
 attached to this letter.

        In addition, we wish to depose Doe's "expert," Dr. Sing, whose report we received after
 your order of 8.23 .18.

          The discovery proposed will not set back your schedule for Summary Judgment motions,
 as it relates to damages only, and not liability. It will advance the matter for trial, and would be
 abundantly fair, given that the enhanced damage claims followed after discovery was closed.




                         MONTGOMERY McCRACKEN WALKER                                                                &    RHOADS                 LLP

                          PENNSYLVANIA                    •     NEW        YORK           '    NEW         JERSEY'                 DELAWARE

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Montgomery McCracken Walker & Rhoads LLP


 The Honorable Paul S. Diamond
 September 5, 2018
 Page 2




             Thank you for your consideration.




     cc:     Edward Schwabenland, Esquire (via e-mail)
             John Mirabella, Esq. (via e-mail)
             Susan Engle, Esquire (via e-mail)




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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,

                                Plaintiff,
                                                                CIVIL ACTION NO.
        v.                                                      18-cv-2044

SAINT JOSEPH'S UNIVERSITY, et al.

                                Defendants.

                  SJU's REQUEST FOR PRODUCTION OF DOCUMENTS
                             RELATING TO DAMAGES
                         DIRECTED TO PLAINTIFF JOHN DOE

        Pursuant to Federal Rule of Civil Procedure 34, SJU demands that Plaintiff respond to the

following request for production of documents, electronically stored information ("ESI") and

other tangible things, and to produce the requested documents, ESI and other tangible things to

the attorneys for SJU, regardless of whether they exist in hard copy or constitute ESL The

requested documents, ESI, and other tangible things shall be produced to the attorneys for SJU

no later than Wednesday, September 12, 2018. The documents, ESI and other tangible things

may be produced to the attorneys for SJU either electronically or via hand delivery to the law

offices of Montgomery McCracken Walker and Rhoads LLP, 1735 Market Street, Philadelphia,

PA 19103, or by such other method of delivery as may be mutually agreed.

        Documents and ESI shall include, but shall not be limited to, writings (including text

messages and e-emails), drawings, graphs, charts, photographs, sound recordings (including

voicemail messages), images, and other data compilations stored in any medium from which

information can be obtained either directly or, if necessary, after translation by Plaintiff into a

reasonably usual form.

        The following documents, ESI and other tangible things are hereby demanded:



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        1.      All school records, including disciplinary records, from all middle schools and

high schools that Plaintiff has ever attended.

        2.      All mental health records from every mental health professional with whom

Plaintiff has consulted or been treated within the last 5 years.

                                                 MONTGOMERY McCRACKEN
                                                 WALKER & RHOADS LLP
                                                 1735 Market Street
                                                 Philadelphia, PA 19103
                                                 215-772-1500

                                                 Attorneys for
                                                 Saint Joseph'
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Dated: September 5, 2018                         By                ,.
                                                      Jo !'./.~· Myers
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                                                      21t/l-7535 (direct dial)

                                                      Albert Piccerilli
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                                                      215-772-7590

                                                      Robert H. Bender, Jr.
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            Case 2:18-cv-02044-PD Document 51 Filed 09/05/18 Page 6 of 7




                            UNITED ST ATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,

                                Plaintiff,
                                                               CIVIL ACTION NO.
        v.                                                     18-cv-2044

SAINT JOSEPH'S UNIVERSITY, et al.

                                Defendants.

                                  SJU's DAMAGES
                       INTERROGATORIES DIRECTED TO JOHN DOE

        Pursuant to Federal Rule of Civil Procedure 33, defendant SAINT JOSEPH'S SJU

demands that JOHN DOE ("Plaintiff') answer the following interrogatories, under oath, no later

than Wednesday, September 12, 2018.

        1.       Identify each and every school middle school and high school that Plaintiff has

ever attended. Please include with your answer:

                 a.     The name and address of the school;

                 b.     The inclusive dates of Plaintiffs attendance at the school;

                 c.     A description of any disciplinary action that Plaintiff was subjected to at

                        the school, the reason for the disciplinary action, and any sanctions

                        imposed as a result of the disciplinary action.

        2.       Identify every mental health professional with whom Plaintiff has ever consulted

or treated. Please include with your answer:

                 a.     The name and address of each such mental health professional;

                 b.     The inclusive dates of Plaintiffs consultations and/or treatment with each

                        such mental health professional.




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                 c.    Identify every mental health evaluation in your present possession, and

provide copies of same.

                                             MONTGOMERY McCRACKEN
                                             WALKER & RHOADS LLP
                                             173 5 Market Street
                                             Phi lade Iphi a, PA 19103
                                             215-772-1500

                                             Attorneys.for Defendant
                                             Saint Jos~p- '..._University
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Dated: September 5, 2018                     By :._f--i-!---,Z--<l~_,,11._'''_'\"'"~_,~L=-._~,,,.,F_~·~·"_ _ _ _ _ _ __
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